10/2024                          Case 2:24-cv-05823-GJP Document 1-1 Filed 10/30/24 Page 1 of 1
                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                           DESIGNATION FORM

    Place of Accident, Incident, or Transaction:_______________________________________________________________________
                                                                Philadelphia




      RELATED CASE IF ANY: Case Number:______________________ Judge:________________________________

              1.   Does this case involve property included in an earlier numbered suit?                                                                  Yes

              2.   Does this case involve a transaction or occurrence which was the subject of an earlier numbered suit?                                  Yes

              3.   Does this case involve the validity or infringement of a patent which was the subject of an earlier numbered suit?                     Yes

              4.   Is this case a second or successive habeas corpus petition, social security appeal, or pro se case filed by the same                   Yes
                   individual?

              5.   Is this case related to an earlier numbered suit even though none of the above categories apply?                                       Yes
                   If yes, attach an explanation.
      I certify that, to the best of my knowledge and belief, the within case                     is /   x is not related to any pending or previously terminated
      action in this court.


      Civil Litigation Categories

              A.   Federal Question Cases:                                                               B. Diversity Jurisdiction Cases:

                   1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                   2.  FELA                                                                   2. Airplane Personal Injury
                   3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                   4.  Antitrust                                                              4. Marine Personal Injury
                   5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                   6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                   7.  Copyright/Trademark                                                    7. Products Liability
                   8.  Employment                                                           x 8. All Other Diversity Cases: (Please specify)______________
                   9.  Labor-Management Relations                                                _____________________
                                                                                                       election matter
               x
                   10. Civil Rights
                   11. Habeas Corpus
                   12. Securities Cases
                   13. Social Security Review Cases
                   14. Qui Tam Cases
                   15. Cases Seeking Systemic Relief *see certification below*
                   16. All Other Federal Question Cases. (Please specify):_____________________________

      I certify that, to the best of my knowledge and belief, that the remedy sought in this case x does /         does not have implications
      beyond the parties before the court and       does / x does not seek to bar or mandate statewide or nationwide enforcement of a state or
      federal law including a rule, regulation, policy, or order of the executive branch or a state or federal agency, whether by declaratory
      judgment and/or any form of injunctive relief.

                                                    ARBITRATION CERTIFICATION (CHECK ONLY ONE BOX BELOW)

      I certify that, to the best of my knowledge and belief:
          x
                Pursuant to Local Civil Rule 53.2(3), this case is not eligible for arbitration either because (1) it seeks relief other than money damages; (2) the
      money damages sought are in excess of $150,000 exclusive of interest and costs; (3) it is a social security case, includes a prisoner as a party, or alleges a
      violation of a right secured by the U.S. Constitution, or (4) jurisdiction is based in whole or in part on 28 U.S.C. § 1343.


                   None of the restrictions in Local Civil Rule 53.2 apply and this case is eligible for arbitration.

      NOTE: A trial de novo will be by jury only if there has been compliance with F.R.C.P. 38.
